                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

ERNIE HINES DIBIA COLORFUL MUSIC,                   CASE NO.      1:20-CV-03535-JPO

               Plaintiff,
       v.
BMG RIGHTS MANAGEMENT (US) LLC,
W CHAPPELL MUSIC CORP., SHAWN
CARTER plk/a JAY -Z, TIMOTHY MOSLEY
plk/a TIMBALAND, and ELGIN BAYLOR
LUMPKIN plk/a GINUWINE,

               Defendants.



                     DECLARATION OF DR. LAWRENCE FERRARA

               DR. LAWRENCE FERRARA, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.      I have been retained as an expert witness in this action. I have personal

knowledge of the facts set forth herein, which are known by me to be true and correct, and if

called as a witness, I could and would competently testify thereto.

       2.      Attached hereto as Exhibit A is a true and correct copy of my Expert Report in

this action (the "Expert Report"), excluding Audio Exhibit 1, which has not been attached to

avoid burdening the Court. Audio Exhibit 1 consists solely of publicly available sound

recordings of the musical compositions of the three works at issue in this action; namely, "Help

Me (Put Out The Flame In My Heart)," "Paper Chase," and "Toe 2 Toe."

       3.      My Expert Report is incorporated herein as though set forth in full.
       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on: November 4,2022
             Short Hills, New Jersey


                                                          Dr. Lawrence Ferrara




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